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 6
                                         UNITED STATES DISTRICT COURT
 7
                                                       DISTRICT OF NEVADA
 8
       UNITED STATES OF AMERICA,                                   )
 9                                                                 )
                                Plaintiftl                         )
l0                                                                 )
  i'                                                               )      2:11-CR-063-JCM -(CW H)
l1;
  '
  !                                                                )
       DAVID EvANs,                                                )
12                                                                 )
                                Defendant.                         )
13
14                                          FINAL O RDER O F FORFEITURE
l5            0n Septem ber6,2012,theUnited StatesDistrictCourtfortheDistrictofNevadaentered an
16     Amended Preliminary OrderofForfeiture pursuantto Fed. R.Crim.P.32.
                                                                        2(b)(1)and(2);Title18s
17 UnitedStatesCode,Section981(a)(1)(C)andTitle28,UnitedStatescode,Section2461(c);Title18,
18 UnitedStatesCode,Section982(a)(2)(B);andTitlel8,UnitedStatesCode,Section 1029(c)(1)(C)s
19 based upon thepleaofguilty by defendantDAVID EVANS to crim inaloffenses, forfeitingspecific
20 propertyallegedinthelndictm entand intheBillofParticularsandagreedtointhePleaM emorandum
21 andshownby theUnited Statesto havearequisitenexusto theoffensesto which defendantDAVID
22 EVAN S pled guilty. Crim inal lndictm ent ECF No. 1; B ill of Particulars, ECF N o. 55; Plea
23 M em orandum ,ECF No. 59; M inutes of Change of Plea Proceedings, ECF N o. 57; A m ended
24     Preliminary OrderofForfeiture,ECF No.129.
25            TbisCourtfindstheUnited StatesofAmericapublished thenoticeoftheforfeiture in
26 accordancewith the1aw via theofticialgovermnentinternetforfeituresite, wwm forfeitttre.gov,
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 1 consecutively from Jtme 7,2011,throughJuly6,2011,furthernotifying allthirdpartiesoftheir
 2 rightto petition theCourt.Notice ofProofofPublication,ECF No.73.
 3           ThisCourttindsno petition wasfiled herein by oron behalfofany person orentityand
 4 thetime forfiling suchpetitionsand claim shasexpired.
 5           ThisCourtGndsno petitionsarepending with regard to the assetsnamed herein andthe
 6 tim eforpresenting such petitionshasexpired.
 7           THEREFORE,IT IS HEREBY ORDERED,ADJUDGED,AND DECREED thatall
 8 right,title,and intcrestin the property hereinaAerdescribed iscondernned, forfeited,and vested in
 9 the United StatesofAmericapursuantto Fed.R.Crim .P.32.2(b)(4)(A)and(B);Fed.R.Crim.P.
10 32.2(c)(2);Title 18,UnitedStatesCode.Section981(a)(1)(C)andTitle28,UnitedStatesCode,
11 Section2461(c);Title 18,UnitedStatesCode,Section982(a)(2)(B);andTitle 18,United States
12 CodesSection 1029(c)(1)(C),andshallbedisposedofaccordingtolaw:
13                 M otorolacellphone Sm SJUG5546AF;
14                 Blackben'y cellphone IM EI# 358453021785810;
15           3.    Any and a11fundsin Bank ofAm ericaaccount5010-0002-7032in the
16                 am otmtof$4,453.94;
l7           4.    $10,940inUnitedStatesCurrency(seizedfrom JosephRamirez);
18                 G lock 21, serialnumberNHP 408(with2magazines);

19                 Dragonovrifle,serialnumberD029-75(withscopeand 2magazines);
20                 Tw o sw ords in case, unklzown m ake/model;
21           8.    Ammo can wit,
                               h .308 rounds;
22          9.     2005 Black H arley D avidson Sportsters V1N# 1HD1CGP195K453157;
23           10. Any and allftmdsin Bank ofAmerica AccotmtNo. 11020-11128 in the
24                 mnountof$15,035.38;
25                 Any and a1lfundsin Bank ofAmericaAccountNo. 5010-0865-1073 in the
26                 amountof$2.897.31)
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       12. 2007GreyDodgeRam,1500QuadCab,Vm # 117714A182675266252)
       13. Black 1999 RE/M AX InternationalConvention laptop bag;
       14. Unitech M Slt206u magneticcard reader;
            M agnetic card readerpoweroord;
       16. M agneticcard readerUSB connection cord;
       17. M agnetic card readerVGA cormection cord;
       18. ThreePlayersClubcards;
            Packageofvelcro wire retention straps;
       20. Toshiba Satellite laptop,m odelnum berPSLZXU,serialnumber
            X5l10890W ;
       21. Laptop pow ercord;
       22. Severalsheetsofadhesivelabelpaper;
       23. Nokiacellphone;
       24. Camelcigarettepack containing l7PlayersClub cardsw1t11
                   Pm numberswritten on back,asfollows:
                   PlayersClub card with Pm num ber1234
                   Playels Club card with Pm num ber6280
                   PlayersClub card with Pm number4270
                  PlayersClub card with Pm number2323
                   PlayersClub card with Pm number2222
                  PlayersClub card with Pm number3251
                  PlayersClub card with Pm num ber 1961
                  PlayersClub card with Pm number2210
                  PlayersClub card with Pm num ber9433
                  PlayersClub card with Pm number1937
                  PlayersClub card with Pm num ber11l0
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                      PlayersClub card with Pm number518l
                      PlayersClub cardwith Pm num ber0823
                      PlayersClub card with Pm number7777
                      PlayersClub card whilPm number5117
                      PlayersClub card with Pm num ber1723
                      PlayersClub card with Pm num ber3188;
         25. Disk located in disk driveofToshibalaptopsidentilied asM SR 206U 1.

               Demo2.Programmer'sMarmal3.USBDriver;and                 oQ        9:
                                                                                , -
         26. An inpersonam criminalforfeituremoneyjudgmentof                     'nU ite
               StatesCurrency.
         IT IS FURTHER ORDERED ,ADJUDGED , AND DECREED thatany and allforfeited
 funds,including butnotlim ited to,currency, currency equivalents,certificatesofdeposit,aswell
 asany incomederived asaresultoftheUnited StatesofAmerica'sm amagem entofanyproperty
 forfeited herein,andtheproceedsfrom thesale ofany forfeited property shallbedisposed of
 accordingto law.
        TheClerk ishereby directed to send copiesofthisOrderto a11counselofrecord and tlu'ee
 certified copiesto theUn'ed StatesAttorne 'sOffice.
                                                                                                 !
        DATED this               day of                   ,2012.


                                                                   L
                                           UNIT        STATES DISTRICT JUDGE




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